c               Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 1 of 49



                        IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION
                                                                                                FILED
                                                                                            U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT ARJ<ANSAS



                                                    )                            JAMES
    RICHARD L. COX, TRUSTEE ON                      )                            By;                              *- ............
                                                                                           ;   )'=< IT     > 'f
                                                                                                    / 1 r ..,.       <>:=-:=:•
    BEHALF OF BANKRUPTCY ESTATE OF                  )
                                                                                                                                1




    KELLY RYAN                                      )
                                                    )

                                                    ~
                   Plaintiff,
                                                         civIL ACTION No.     ¥:I 1e v11 3-JLA'
           vs.                                      )


                                                                                        Disw~
                                                    )
    THE AMERICAN RED CROSS; and                     )
    JOHN DOE DEFENDANTS 1-5                         )           This case assigned to
                                                    )           and to Magistrate Judge                       _,/'
                   Defendant.                       )
                                                    )
    ~~~~~~~~~~-)


                                  NOTICE OF REMOVAL PURSUANT
                                    TO 28 U.S.C. §§ 1441 and 1446

           The American National Red Cross ("Red Cross") hereby files, pursuant to 28 U.S.C. §§ 1441

    and 1446, this Notice of Removal of a certain action pending in the Circuit Court of Pulaski County,

    Arkansas and in support thereof states as follows:

           1.      The Red Cross is the defendant in an action entitled Richard L. Cox, Trustee on

    behalf of Bankruptcy estate of Kelly Ryan v. American Red Cross; and John Doe Defendants 1-5,

    Civil Action No. 60CV-17-298, which is pending in the Circuit Court of Pulaski County, Arkansas

    (the "State Court Action").

           2.       On or about February 1, 2017, plaintiff served on the Red Cross a Civil Summons and

    Complaint. No prior papers were served on the Red Cross in the State Court Action.
             Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 2 of 49



       3.       In accordance with 28 U.S.C. § 1446(a), and to the best of the Red Cross's

knowledge, the papers attached hereto as Exhibit "A" are all of the process, pleadings, and orders

served to date upon the defendant in the State Court Action.

       4.       Federal subject matter jurisdiction exists in this action by virtue of 36 U.S.C. §

300105, a provision of the Red Cross's federal charter that grants it the power to "sue and be sued in

courts oflaw and equity, State or Federal, within the jurisdiction of the United States."

       5.       The United States Supreme Court has held that the Red Cross's charter creates

original federal jurisdiction over suits involving the Red Cross and that therefore the Red Cross is

entitled to remove to federal court all state court actions it is defending. American National Red

Cross v. S.G., 505 U.S. 247 (1992).

       6.       The Red Cross desires to remove the State Court Action to this Court and submits this

Notice, along with the attached Exhibits, in accordance with 28 U.S.C. §§ 1441 and 1446.

        7.      This Notice is being filed within 30 days after service on the Red Cross of a copy of

the Complaint in the State Court Action and is, therefore, timely filed pursuant to 28 U.S.C. §

1446(b).

        8.      Written notice of the filing of this Notice of Removal will be given to all parties and,

together with a copy of the Notice of Removal and supporting papers, will be filed with the Clerk of

the Circuit Court of Pulaski County, Arkansas, as provided by 28 U.S.C. § 1446(d). See Certificate

of Compliance with 28 U.S.C. § 1146(d) (attached as Exhibit B).

        WHEREFORE, the Red Cross prays that the State Court Action be removed to this Court.

Dated this 24th day of February, 2017.
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                           Respectfully submitted,

                           Michelle Ator (Ark. Bar #g5189)
                           Khayyam M. Eddings (Ark. Bar #2002008)
                           FRIDAY, ELDREDGE & CLARK, LLP
                           400 West Capitol Avenue, Suite 2000
                           Little Rock, AR 72201
                           Telephone: (501) 370-1417
                           Facsimile: (501) 537-2903
                           E-mail: keddings@fridayfirm.com

                           Counsel for De£end ant
                           Ame·

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                              ncan_Nationa~
                                         ~     -- ross
                        ~               r/,..//-
                    ~ayy          ~
                                     / M. Eddings--
                                          "
f.             Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 4 of 49



                                      CERTIFICATE OF SERVICE

            I, Khayyam M. Eddings, hereby certify that on this 2ih day of February, 2017, I have filed

     this Notice of Removal with the Clerk of the Court, caused it to be uploaded to the CM/ECF system,

     and served by first class mail, postage prepaid, on each of the following:

            Tony L. Wilcox
            Wilcox Law Firm
            600 South Main Street
            Jonesboro, AR 72401

            Chris A. Averitt
            Scholtens & Averitt, PLC
            600 South Main Street
            Jonesboro, AR 72401                                     / .· _s:_,.    ----;;;::7


                                                   Hy
                                                        .
                                                            ~
                                                                ~


                                                            ~;~~.Eddings
                                                                         ..
                                                                                      /~·
                                                                                  .• ""-----
                                                                                               .
               Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 5 of 49


                   IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                       HON. ALICE S. GRAY -12TH DIVISION 6TH CIRCUIT

                   RICHARD L COX TRUSTEE V AMERICAN RED CROSS ET AL

                                              60CV-17-298

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

 AMERICAN RED CROSS
2025 East St., N.W.
Washington, D.C.
Washington, D.C., WA 20006

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiffs attorney, whose name and
address are:

Chris A. Averitt
600 South Main Street
Jonesboro, AR 72401

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:
•Notice of Right to Consent to Disposition of Case by a State District Court Judge

Interrogatories and Request for Production of Documents




                                              •     EXHIBIT


                                              i --A
              Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 6 of 49


                                            CLERK OF COURT
Address of Clerks Office
                                                               ~rCOUtft,~
LARRY CRANE, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
                                            ~ R'fY!11ru"-P lll \:~......... ~
401 W. MARKHAM                              CLERK Christy Renee McDaniel, DC
LITTLE ROCK, AR 72201
                                            Date: 01/20/2017
               Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 7 of 49


                              NOTICE OF RIGHT TO CONSENT
                TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
including trial of the case and entry of a final judgment. Copies of appropriate consent forms are
available from the Circuit Clerk.

You should be aware that your decision to consent or not to consent to the disposition of your case
before a State District Court Judge is entirely voluntary, and by consenting to the reference of this
matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

You should communicate your consent by completing the Form -- CONSENT TO PROCEED
BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                      Circuit Clerk
                                                      Date: 01/20/2017
               Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 8 of 49


No. 60CV-17-298 This summons is for AMERICAN RED CROSS (name of Defendant).



                                          PROOF OF SERVICE

D I personally delivered the summons and complaint to the individual at
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on                                                 [date];
or

D I left the summons and complaint in the proximity of the individual by
_ _ _ _ _ _ _ _ _ _ _ _ _ after he/she refused to receive it when I offered it to him/her; or

D I left the summons and complaint at the individual's dwelling house or usual place of abode at
_ _ _ _ _ _ _ _ _ [address] with                                     [name]. a person at least 14
years of age who resides there, on                      [date]; or

D I delivered the summons and complaint to                       [name of individual], an agent
authorized by appointment or by law to receive service of summons on behalf of
_ _ _ _ _ _ _ _ _ _ _[name of defendant] on                                    [date]; or

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

D Other [specify]:



D I was unable to execute service because:




My fee is $ __ .

To be completed if service is by a sheriff or deputy sheriff:

Date: _ _ _ _ __                SHERIFF OF                COUNTY, ARKANSAS

                                By: _ _ _ _ _ _ _ _ _ _ __
                                [Signature of server]
               Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 9 of 49



                              [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: _ _ _ _ __              By: _ _ _ _ _ _ _ _ _ _ __
                              [Signature of server]



                              [Printed name]

Address:
           -------------------------~




Phone:
         -------------
Subscribed and sworn to before me this date: - - - - - -



                              Notary Public

My commission expires: _ _ _ _ _ _ _ __

Additional information regarding service or attempted service:
         Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 10 of 49



                   IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

                                               )
RICHARD L. COX, TRUSTEE ON                     )
BEHALF OF BANKRUPTCY ESTATE                    )
OF KELLY RYAN                                  )
                                               )
               Plaintiff,                      )
       vs.                                     )   CIVIL ACTION NO. _ _ _ __
                                               )
THE AMERICAN RED CROSS; and                    )
JOHN DOE DEFENDANTS 1-5                        )
                                               )
               Defendant.                      )
                                               )
____________ )
                              CERTIFICATE OF COMPLIANCE
                                 WITH 28U.S.C.§1446(d)

       The American National Red Cross ("Red Cross"), by its counsel, hereby certifies that it has

given written notice of the filing of its Notice of Removal to all parties in the above-captioned action

and that it has filed a copy of the Notice of Removal with the Clerk of the Circuit Court of Pulaski

County, Arkansas.

        Dated this 2?1h day of February, 2017.

                                               Respectfully submitted,

                                                Michelle Ator (Ark. Bar #95189)
                                                Khayyam M. Eddings (Ark. Bar #2002008)
                                               FRIDAY, ELDREDGE & CLARK, LLP
                                               400 West Capitol Avenue, Suite 2000
                                               Little Rock, AR 72201
                                               Telephone: (501) 370-1417
                                               Facsimile: (501) 537-2903
                                                E-mail: keddings@fridayfirm.com

                                               Attorneys fPr Defendant Red~oss
                                         ~~                             o-=::=>
                                     c         ~m M~ng:s--- , .                                 EXHIBIT
                                                       ///~                              I ?,
                                                                                         I
              Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 11 of 49


                                                                                                 ELECTRONICALLY FILED
                                                                                                        Pulaski County Circuit Court
                                                                                                      Larry Crane, CircuiUCounty Clerk
                                                                      2017-Jan-19 16:23:38
                                                                          60CV-17 -298
                  IN THE C!RCUIT COURT or PlfLJ\SKI COUNTY. J\RKANSJ\S C06D12: 17 Pages
                                    CIVIL DIVISION

RICll:\RD I.. COX. TRUSTEL. ON BEi IALF OF Tl IE
RANKRlJP rcY LSTAIT or KFLI. y R Y.:\\l                                                                  PI .i\lNTtrr

\ s.                                           l':\SL \:0.

AMERICAN Ri'.I) CROSS: and .IOI IN DOE
DLFLNDANTS 1-5                                                                                   D U·J: I\ DA :-\TS

                                                 (~OMl•LAINT


         The Plaintiff. Rkhmd L. Cox. Trustee. on lkhalf of the Bankrupl1.:y Estate of Kdly Ryan.

states the follo ..ving as his Complaint against the lkfcndant. American Red Cross:

                                                      P:1rtics

         I.       Kdly Ryan is a n.·siJcnt of White Count). :\rkansas. On f\·1arch ~I. 20 l (1. Kdly Ryan

fikd a Voluntmy Petition for Rdiefund1.:r Chaph:r 7 ofth1.: Hankruptcy Code. Jn /fr.· f..:t'll\' R1w1.

Debtor. Unit<.:d Staks Bankruptcy Court. Fastl.'rn J>istrict of Arkansas. Littk Rm:k Oi\ isio11. Cas1..•

No. 16-115::!7.

         ')
                  Plaintiff is thi: Trustee in the abovi.:-entitkJ 1.:ase duly qualifo:d and a1.:ting. Plaintiff

has been authorizi.:d to i.:mploy attorneys for spl.'L·ial purpose pursuant to l I C.S.C. ~ .127t<1 pursue

this matli.:r. Si.:e 1:xhibit ..:-\ .. attached hcrL'lo and incorp0rnted herein hy n:lcn!JJt.:1:! .

        .1.       American Ri.:d Cross is a kJi.:rall) dwrt1..>red corporation.               Sec >6 { '.S.C. ~~

300 I 0 I ··02. AmL·rican Red Cross operatcs a natiom\ idl.' blood bank th al i.:olkcts blliod und blood

components from donors and suppli1..·s it h1 hospitals l"or use in transl'usions. i\mcri~a11 Ri.:d Crnss·s

blood banking activitks an: sul~ject lo ri.:g.ulations i.:nf(1rccd b) till· l lniti.:J Stales l·ood and Drug

Administration.
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        4.        John Doi.' Dcll:ndants 1-5 \\ere scr\anls. ag.i:nts. employees or ostcnsihlc agL"nts of

J\merk<tn ReJ Cross \\ho       \\Cn:   chaq:!cd with caring for Ki:lly Ryan. !'hey an: individually !iabk for

thL"ir conduct as dcscri hL"<l hL"n:in. ;.ind A1m:ri1.:an Red Cross should be hdd vi1.:ariuusly Iiable for tht'ir

con<lm:t under principles of agency and respondent superior. Thc identity of all such individuals arc

unknown al this time. Pursuant lo i\rk. ( "odl.' 1\1m. ~ 16-)6-125 and th\.! Artida\'it a1ta1.:hcd hcn:tu

as Ex hi hit .. B ... '>vhi:n the identity ol"thesc indi\·iduals or l.'ntitics is disc()vcrl'd. this pk:aui11g ..di! be

appropriatdy a1m:ndcd.

                                            Jurisdiction and Vcnul'

         5.       This Court has jurisdiction oflhis matll:r under Ju U .S.C.         ~   300 I 05(a )( 5 ). a pro\"ision

in American R1:u Cross's dmrt1:r providing that ii may .. sue and be sucJ in l.:llLll'ts orlaw anJ equity.

Stntl' or Fcdcral. within lhcjurisdictiun oft he l 'nited States." 36 l!.S.C'. 300105(a)(5). Jurisdiction

in this court is proper pursuant to Ark. Const. Art. 7          * I. I   Ark. Code Ann. ~ 16-13-20 I. and Ark.

Const. /\mcn<ln11.:nt 80. ~ 6. This ( 'ourt has personal jurisdiction mer the Ddi.:n<lanls due tn the

lkl'cndants' conlacls \\ilh th1: Stall: of Arkansas. lfo.: medical trl.'ut1111.:nt and l.'\cnts         ~i\   ing rise to

this cause of m.:tion occurred in Little Ruck. Pulasl-..i County. Arkansas.

         6.       The ewnts giving risL' to this b\\suit occurred in Arkansas. Venue is proper pursuant

to Ark. ( 'od Ann. § 16-60-112 and        ~ I o-55-213( l') as lhc   treatment giving rise to this cause of action

m:curn.:d in Little Rock. Pulsaki County. Arkansas.

                                               Factual Alll·gations

         7.       Paragraphs I thrnugh 6 are incorporated herein by rden:nce.

         8.       This is an action fi.ir i1~jurics. past and future pain and suffering and mental anguish.

and past and future lost \\agcs and lost earning capa.:ity.


                                                         -2-
            Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 13 of 49




       9.       Kelly Ryan has a severe allergy to iodirn:~. Despite her seven: allergy. she chose to

voluntarily donate blood to help peopk sun ivc medical crncrgcrn.:ies.         This tyre of altruistic

behavior should he encouraged in a civilized society. Kelly Ryan truskd American Red Cross to

accept her donation in a safe manner given her knovvn and disdosed allergy to iodine.

        IO.     On February 17.2015. Kelly Ryan voluntarily participat<.!<l in u blood drive conducted

by American Red Cross that took place in u meeting room located inside the East Campus building

of the Arkansas Children":; Hospital. Ms. Ryan had pr<.!viously donated blood without incident and

was in American Red Cross· donor system.

        11.     Regarding Ms. Ryan·s attempts lo donate blood. American Red Cross completdy

controlled the donation process. including the maintenance of its fm:ilities. the intake process. the

screening process. the personnel involved. the forms used. the equipment used. the process used to

dean equipment. and the procc.'durcs and protocols to be followed by its employees. agents and

representatives.   American ReJ Cross controlled the process to he followed to communicate

American Red Cross policies and proccdures to its employees, agents and representatives involved

in the blood donation process.

        12.     Aller Ms. Ryan was signed in on a computer hy a Red Cross representative. she

infonned the American Red Cross repn:senlativc of her severe allergy to iodine. Iodine exposure

to individuals with an allergy is serious and often immcdiatdy Ii le threatening. I Jad Ms. Ryan been

 infi..mned of the use of iodine and/or the potential exposure to iodine at this location she should have

simply not follln.,.·cd through with her voluntary donation. American R~d Cross was required to have

 protocols in place to prevent people with this allergy from being exposed lo this dangerous chemical.

 Ms. Ryan \Vas assured that she would not he exposed to ioc..lim.: .

                                                    ..,
                                                   -.)-
          Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 14 of 49




        13.      Ms. Ryan was inslrw..:teJ lo sit in a bl:.u:k chair and to place hl'r arm            lll1   the' arm rest.

        14.      l fnbcknownsl to Ms. Ryan. the American Ri:d Cross repri:scntatin:s wi:ri: not

following propt!r protocols to pn:\'ent iodine exposure.

        IS.      ;\]so unhd.nownsl tu Ms. Ryan. thi.: chair in\\ Iii ch \1s. Ryan had bct'll instrlll.:kJ to

siL \\'as co\crc'J \\ith indinc. As a n.:sulL r-.1s. Ryan was impropcrly and signilicantly c'poslxl to

iodine when sht! sat in the chair at thc inst1w.:tio11 ot' the A ml.'rican Red Crnss rcprest.:ntat i vc.

        I (l.    J\ts. Ryan first noticl.'d her arm w.is ih.:hing. When she looked at hi:r arm. she 11llliced

it was covcn:d in whelps and iodin1..'. She ran to the restroom across the hall.

        I 7.     Ms. Ryan cold a ..:o-worker and the American Red Cross representati \'l.'S that sbt: haJ

bt:cn c;,:xposed and thut she \\as rushing. to thr.: c1111.:rgr.:ncy room (localed in anothl.'r building                or
Arkansas Chi ldn:n · s lfospit:.tl ). She also swtcd that she nccd1.:d an Lpi-Pcn.

        18.      After J\..1s. R~an kli. the room. lht! A1w:rican Red Cross repre::;t'ntatiH: admittcJ to

pl.'rsons \vho \Vere present that hr.:r chair had not br.:l.'n pwp1.:rl::. ck·anl.'•L The n:pn.:scntati\e then

wiped down lh1: chair.

        19.      On her way to the emergency room. \Is. Ryan !lagged down a s1.:curity gllard who

transported hl.'r to a lraunw room.

        :w.      Ms. Ryan \Vas diagnosed \\ith an anaphyl<.u.:tic allergic reaction. She was lighting for

air because her throat \\as closing. up.            She \Vas cmcrgcntly trcated with epinephrin and was

transferrl"d to the hospital at l   :niwrsit~   ,1f...\rka11s;is h)r M1..·di1..·al Scicnci.:s (l '.i\l'v1S) \'ia ambulance.

        21.      /\t UAMS. Ms. Ryan arri\'t.:d \\ith worsening r1..·spiratory distrl"ss. She was intubated

and admitted to the ivkdical lntensi\ e Care lJ nit. She sulk red a Myrn::ardial Infarction (hr.: art attack).

She rcmainl.'d intubated until February 19. She \\as discharged on Fehru;1r~ :2:2 and a<.h iscd to nrnk1..·


                                                           -4-
          Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 15 of 49




a plan of continued care with a cardiologist. Jlv1s. Ryan continues to suffer from permanent damage

to her heart.

        22.      American Red Cross is required to document donor complications pursuant to u

consent Jei..:ree reached by American Red Cross and the United States in United States      1·.   American

lVational Red Cross. No. 93-0949. 1993 WL 186094. at l (O.D.C. May 12. 1993). The case arnse

when the United States filed a complaint for permanent injunctive relier on behalf of the FDA

alleging that the Rt:d Cross violak:d the Fci.kral 1-'ood. Orug. and Cosmetic Act and the Public l lealth

Sl!rvice Act. The Consent Decree. which was amended in 2003. requires the Red Cross to follow

certain policies and procedures regarding blood safety.

        n.       American Red Cross has repn:sented that its n:presentativl!s failed to create or

produce a .. Donor Reaction/Injury Record" (DRIR) for this incident. DRIR ·s arc used by American

Red Cross to document possible complications from blood donations.                   Entries are made

memorializing the potential complications dcscri hed by the donor. symptoms <les;.;ri bed hy the <lonor.

and conversutions between the donor and American Red Cross Representatives. The types of

inll>rmatilln contained in a DRIR may include a description       or general   instructions given to the

donor. and whether the donor is seeking medical care :md from whom.

        24.      To this date. American Red Cross either cannot. or it refuses to. disclose the identity

of its employees. ugents and representatives involved in this incident. It also cannot. or refuses to.

idcntit)' whether the people involved in the donor process were truine<l. licensed medical care

professionals.




                                                   -5-
         Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 16 of 49




                                         COUNT I
                                   MEDICAL NEGLIGENCE

       25.     Paragraphs 1 through 24 are irn::orporatcd herein by rdi:rcnc1:.

       26.     American Red Cross operates u nationwide blood bank that cullel.::ts blood and blood

components from donors and supplies it to hospitals. American Red Cross· s blood banking activities

urc subject to regulations enforced by the United Stales Food and Drug Administration.

       27.     American Red Cross provided medical care         to   Kelly Ryan. American Red Cross

employed medical care professionals who had a non-delegable duty to possess and apply with

reasonable care the degree of skill and learning ordinarily possessed and used by members of their

profession in good standing . ..:ngagcd in the same specialty in the locality in which they practice.

       28.     American Red Cross employe<l John Doe medical care prokssionals who failed to

mr.:ct the requisite standard of care by. among other things:

                       (a)     Improperly exposing Ms. Ryan to iodine alkr having. been advised of

                               her sewre allergy:

                       (b)     Improperly reusing gloves, chairs and other items of equipment

                               without properly deaning these items:

                       (c)     Using t:ontaminated equipment for patient can::

                       (d)     Failing to follow proper protocols to ensure that patients. such as Ms.

                               Ryan. with known alkrgics to iodine. were not exposed to iodine

                               during the blood donation process:

                       (c}     Failing to properly monitor anJ observe Ms. Ryan and to ensure a

                               continuity   or earl.!;
                       (t)     failing to provide. with reasonable care. the degree of skill and


                                                     -6-
         Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 17 of 49




                               karning ordinarily possessed and used hy a mt:mbers of their

                               profession in good standing, engaged in the same specialty in the

                               locality in which they practice:

                       (g)     Failure to timdy and prnperly respond to '.\1s. Ryan":-; medical

                               cmcrgem:y:

                       (h)     Failing to properly doi..:umcnt l'laintifrs reai..:tion and injury: and

                       (I)     Othcnvisc failing to meet the standard of care. including taking

                               mcasun:s to conceal their negligence.

       29.     Medical care prolessionuls possessing. and applying with reusonahle care. the degree

of skill and learning ordinarily possessed and used by members of the profession in good standing

\Vould havl.! ensured that Ms. Ryan was not 1.!Xposed to iodine.

       30.     American Red Cross employed John Doe medical care protessionals ·who caused nn

emergent condition and then foikd to respond in n timely fashion or \Vith adequate evaluation.

intervention. an<l treatment. directly causing the injuries to Ms. Ryan.           These medkul care

professionals· failures to meet the requisite standard of care was the proximate cause 1)f all injuries

and damages suffered by Ms. Ryan.

       31.     Th<.: negligence involwd with tht!care of Ms. Ryan was perpetrated by the employees.

agents and representatives of American Red Cross and therefore, any such negligence is imputed

upon American Red Cross by the doctrine of rcspondcat superior and vicarious liability.

       3~.     As a proximat1.: n.:sult of the joint unJ several negligence of the Dcfondants. Ms. Ryan

suffered conscious pain. suffering. discomfort. mental anguish. and other damages dt:scribed hdow.




                                                  -7-
          Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 18 of 49




                                  ('OlJNT II
      HREA{'JI OF THE. Dl!TY TO OBTAIN MS. RYAN'S INFOIH1ED CONSENT

        33.     Paragraphs I through 32 an.· incorporntcd herein by rcforenc~·-

        34.     Kelly Ryan has a st:\crc allergy to iodint:. Dt:spite her si.:wn: alkrgy. she dwsc to

\Oluntarily Jonatc blood to help pcopk survive medical emergencies.                This type of altruistic

bl!havior should bt: t:ncourageJ in a ci\ ilizeJ sodl'ty. Kelly Ryan trusted American Red Cross to

accept her donation in a safe manner given hl..'r kumrn and disdoscd alkrg.y lo iodirn.:.

        JS.     A1111:rii.:a11 Red Cross pn\\ idcd medical care to Kelly Ryan.

        36.     Ms. Ryan· s voluntary attempt to donate blooJ did nut constitutc an emergency

situation. rims. American R('d Cross cmployl'd medical care prnlessional:-; \\ho hud a non-dekgahlc

duty to obtain Ms. Ryan "s consent hcfor(' exposing her to dangerous chemicals such as iodine during.

the hlond donation process.

        3 7.    In nhtaining consent. /\meric•m Red Cross· medical care prolcssiunals had a duty to

supply adequate information lo enable !v1s. Ryan to make a reasoned and intcllig('llt tkcision l'l\:fi..11·c:

submicting Ms. R)an to a proc~·ss th'-lt \\ould result in her exposure to the dangerous chemical     1\110\\   n

as iodine.

        38.       /\merican Red Cross employc:d llh:dkr:ll care prokssionab \\ho brem:hed these

duties and foiled to ohtain Ms. Rym1's inli.mm.:d consent before exposing her lo the dangerous

chemical km\\\ 11 as iodine.

        J9.     I lad /\mcri1.:an Red Crnss· medical care prokssionals infortl\1.:ll Ms. Ry<m that she

'' ould ban: been exposed to iodine during the blood donation process. she\\ ould han: not consented

to such exposure. In fact. had Ms. R~ ~m been aJe4uatdy infonm:d of the risk of iodine cxposun:



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         Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 19 of 49




associated with American Re<l Cross' blood donation process. she would have not follovved through

with her voluntary blood donation. \Vt>uld not have been exposed to iodine.        ~m<l   \.\Ould not have

surtt:red the damages dcsnihcd herein.

       40.     The hreach or the duty to obtain Ms. Ryan· s inhmned consent he hire ex posing her

to the dangerous chemical known as iodine was perpetrated hy the employees. agents and

ri:presenlatives of Ameril.:an Red Cross am! therefore. any such breach, and the resulting liability.

is imputed upon American Red Cross hy the doctrine ofrespondeat superior and vicarious liability.

       41.     As a proximate result of the joint and several breaches of the duty to obtain informed

consent perpetrated by the Dclendants. Ms. Ryan suffered conscious pain. suffering. discumfiJrl.

mental nnguish. and other damages dcscrihed hclow.

                           COlJNT Ill
  ORDINARY NEGLIGENCE AND INADEQUATE POLICIES ANO PROCEDlJRES:

       42.     Paragraphs 1 through 41 an: incorporared herein by reforence.

       43.     Amt:rican Ri.:d Cross operutes u nationwide blood bank that colkcts blooJ from

donors and supplies it to hospitals for use in transfusions. American Red Cross's hlood banking

activities are subject to regulations enfon:eJ by the United States Food and IJrug Administration.

       44.     American Red Cross represents to the public and potential blood donors that it is a

compett.::nt and compc.:tcntly-sraffcd organization that operates a nationwide hlood hank that collects

blooJ and blood compont:nls l'rom donors and supplies it to hospitals for us..: in transfusions. Despite

the representations, American Red Cross does not        h~lVe   pol icks and proct:<lures rdatt:d to the;;

prevention of io<lin1.: exposure for patknts with iodin1.: alkrgies. :\lternuti vely. American Red Cross

does not have adequate policies and proc1.:dun:s in pince to ensure thm its policies and procedures



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          Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 20 of 49




relating to the prcvt~ntion of iodine exposure are followed and enforced by its employees. agents and

rcprescntati ves.

        45.     Regarding Ms. Ryan· s attempts to donate blood. American Red Cross completely

controlkd the donation process, including the maintenance         or its fai.:ilities. the intake process. the
screening proi.:css. the personnel invulvcd. the forms used. the equipment used. the prni.:css used to

dean c4uipment. and the procedures and protoc'-ils to be l'ollowed by its employees. agents and

repn:scntatives.      American Red Cros:> controlled th!.! process to be lollov.·ed to communicate

American Red Cross polii.:ies and prm:edures to its employees. agents and representatives involved

in the blood donation process.

         46.        Amerkan Red Cross was responsible for Ms. Ryan while under its i.:arc and undertook

to care for her during the blood donation process. an undertaking which established a duty of

ordinary care to her.

         4 7.       l~idine allergies an.: knO'v\11 to The American Red Cross to he a risk il1\ olwd in the

 donation of blood. Iodine exposure is a known risk during. the blood donation process and must be

 prevented through the use of proper procedures. protocols and training.              I lud Ms. Ryan been

 inf(Jrmcd of the use of iodine and/or the potential e:\posurc to iodine at this loi.:ation she would huvc

 simply not fi..illowed through with her voluntary donation.

         48.        American Red Cross breached its duty owed to Ms. Ryan by causing her to ~

 exposed to iodini:: alter being advised of her sewre allergy. /\meriean Red Cross failed to implement

 proper policies and protocols lo prevent Ms. Ryan's cxposun:. Additionally. J\mcricun Rc<l Cross

 failed to have proper protocols un<l policies in place lo communicarc the method that its employees.

 agt:nts and representatives should follo\v to t:n:-iure that donors with knmvn iodine allergies. such as


                                                      - I 0-
         Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 21 of 49




Ms. Ryan. were not exposed to iodine during the donation prrn:i:ss.

        49.     Additi1.mally. \Yhile acting. as a mi:dical care facility. American Red Cross lwd a <lut)

to use ordinary can.: to dctermim.· the physic:ll condition    or Ms. Ryan and lo l'urnish ht:r thi.' 1.:arc and
u1lcntion reasonably ri.'quiri.'<l by her condition and kmmn allergy to iodine. Ameri1.::.m Red Cross

breached its duly owed to Ms. Ryan hy failing to use ordinary care to dctt:rminl.:'. Ms. Ryan's physical

condition and to furnish her thl' can:: and :1ttenlion n.:aso11ahly required by her condition.

        50.      American Red Cross knc\v. or in till· cx1:rcisi: of on.linar) l.'.arc should ha\'l~ known.

that it \\'as emplnying. and/or using non-m1.:Jical in<li \·iduals \\ho \\ere not pn.iperl: trained to pn.'\'l'nt

iodine cxposun.: during the blmld donation prm:i:ss.

        51.      American Red Cross \\as negligent in that it failed lo exercis(' tmlinary care to

investigak and ensure that its no1Hrn:dkal care positions W('rc tilled with suflicient. adequati.:.

qualified. and trained personnel.

        52.      Am('rican Red Cross \\as alsu nqdigcnt in that ii foileJ lo exercise ordinary care to

inwstig<ttc and t:nsure that it was sta ffod with suflicienl. adcqunte. qualified. and trained non-medical

personnel. The hiring. utili.1.ing. and n.:taining of"insufficic:nt and inad('quatc non-medical slaffwas

neg! igence and was a pro xi mate result of the injuries suffered O) Ms. Ry;111.

         53.     "!'he negligence involv1.:d with the 1.:arc tif Ms. Ryan was pcrpctrnkd by the e111ployccs.

agents and rcprcsr.:nlutivl.:'.s of American Red Cross and th('reli.lrc. any such ncgligcnl:c is imputed

upon American Red Cross by tht.: doctrine of rcspondeat superior and vicarious liability.

         5-L     The failures um! ncgligern.;e     or Ami!ril.:an Red Cross and its employees. agents and
 rcprl-'st:nli.ltin~s were a direct and proximate cause of the injuries and dm11ages sulli:n:d by Ms. Ryan.




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                Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 22 of 49




                                                 DAMAGES

              55.   After the exposure, Ms. Ryan was diagnosed     \Vi th   an anaphyluctic ullergic reaction.

She was lighting for air hccausc her throat ·was dosing up. She was cmergently trcntcd with

epincphrin and was transforrcd to the hospital at University of Arkansas For Medical Sciem:es

(UAMS) via ambulance.

              56.    At UAMS, Ms. Ryan arrived with worsening respiratory distress. She \vas intubated

and admitted to the;: Medical Intensive Care Unit. She suffered a Myocurdial Infarction (heart attack).

She remained intubated until February 19. She was discharged on February 22 and ad\'iscd to

followup with a cardiologist. Ms. Ryan continues to suffer permanent damage to her heart.

              57.    Kdly Ryan prays that she have and recover damages and judgment from and ugainst

the Defendants as compensation for consc..:ious mental and physical pain and sutkring and t:motional

distress. past and future medical expenses necessitated by the iodine exposun:: loss o!'earnings: loss

of earning capacity; the present value of the Joss of future earnings: and for all olht.:r damages

allowed by law in un amount whid1 exceeds thl.'. amount rl.'.quired for federal diversity jurisdiction.

              58.    From the time ofbcr arrival to the time of her exposure. there we;:re repeak<l instances

oflack of care. suhstandan.I care. and improper care by unqualified and untrained individuals. There

was also a failure on the part       or American    Red Cross' employees. agents and representatives to

fi..lllO'vV   the must basic procedures demonstrating a lack of training by American Red Cross an<l also

 inadequate proce;:durcs in place. These instances of negligence and inac..:tion arc actionahle;: in

 isolation and in combination. and they also demonstrate a n:ck less disregard for, and a conscious

 indifference to, Ms. Ryan's ht:alth and v.:dl bdngjl!stifying the award of punitive damages.




                                                       -12-
           Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 23 of 49




          59.    American Red         Ct\lSS   knt.'\\ or should han· known in light or the surrounding

circumstances. that thi.:ir conduct would nuturally and probably result in injury or Jamagc. and

lklendants cuntinut"J tht" conduct with nm lice an<l in reckless disregard of th1..· consc-qucnccs from

which malice might be inforrcd.

          60.        American Rc<l Cross is required to document donor <:ompli<:ations pursuant to a

consent decree reached by American Red ( 'ross and the l I nit..-<l Sta ks in Cni1ed .C...'1a1es         1·..   I n!<'rin111

Nutimwl Red('ros.\. l\io. 93 09..+9. 199_'; WL 18()094. at I (D.D.C. May 12.                  199.~).   The ('onst:lll

Dt->nee requires American Red Cross to follm.,, certain policies and procedures regarding blood

safoty.    American Red Cross failed and rdi.1sc<l to produci.: a ··Donor Rl..'action 1lnjury Record··

(DRIR) for this im:i<lent.         American Red Cross has also reruscd to disclose the identity ol" its

repr1..•scntatives   involv~·d   in this im:i<lcnt. Thus. A1rn:rican Red Cross has engaged in a ClWCr up

n.:gar<ling this terrible l..'n.·nt. !\ccordingly. f\.'ls. Ry:.m is entith:d to punitin: damages in an amount

to he determined       hy the _jury and an adv...:rsc infcrem:c instruction at trial.

          61.        Ms. Ryan should han· and n.:con:r judgment in an aml1unt              10 h1..· sd by the      .iury in

excess of the minimum amount requin:d for li:deral cowl di' .:rsity frnm lki't:ndants as compen~alory

damages. Shc should also be a\\:.mkd punitin:- damages as appropriate.

          (12.       l'laintiff res.:nes th1..• rig.ht tu amcn<l this Complaint and plead further in this case.

          63.        Plaintiff n:spcctfully demands a jury trial.

          WHEREFORL. the PlaintilI Richard L. Cox. Trustee. on Rehalfofthc Estate ofKdly Ryan.

prays that he have and recover judgment from and against the Defendants. jointly and sevcrnlly in

an amount in excess of the minimum alllount li.ir          k~ll..'ral   court divcr:-;ity jurisdiction: for puniti\c

damages: for all other damages al hl\\ed by law: and for all other rel ii..'!. for which he may he 1..•mitlcd.




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Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 24 of 49




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             Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 25 of 49




                                         lJNITRD STATES BANKRUPTCY COURT
                                           EASTti:R.N DISTRICT OF ARKANSAS
                                                LITTLE ROCK DIVISION

            IN JU:: KELLY RYAN, DEBTOR                                               CASE NO. 16-l 1527
                                                                                          CHAPTER 7

                                                ORDER GRANTING
                                       APPLICATION TO EMPLOY ATTORNEYS
                                              FOR SPECIAL PURPOSE

                      Comes on for consideration the Application of Richard L. Cox, Trustee. to

            Employ Attorneys for Special Purpose (DE #37) (hereafter "the Application"), and the

            Court finds as follows:

                       I.        The Debtor filed a Voluntary Petition for Relief under Chapter 7 of the

            Bankruptcy Code on March 21, 2016.

                      2.         Applicant is the Trustee in the above-entitled case duly qualified und

            acting.

                      3.         Applicant wishes lo employ as attorneys for special purpose pursuant to

            11 lJ.S.C. § 327 Wilcox & Lacy, Pl.C, Scholtens & Averill, PLC and Rainwater llolt &

            Sexton (hcreinallcr referred lo as Attorneys), to continue to handle litigation matters for

            which said attorneys have previously represented the Debtor regarding a personal injury

            claim.

                       4.        Applicant has selected Attorneys for the reason that said firms represented

            the Debtor in regard to the aforesaid personal injury claim prior to the commencement of'

            the instm1t bankruptcy and has a sufficient degree      or familiarity with   such matters that it

            would     oc inefficient to change counsel at this stage.




                                                                                                   EXHIBIT

                            FOO September 12, 201G                                           I A
{H[)()?(i                                            75704030106016
                 Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 26 of 49




                         5.      Applicant and Attorneys have agreed, subject to this Court's upproval, that

                 Attorneys will represent the est.ale in the aforesaid matters for a contingency fee of 45%

                 of all monies recovered, plus reimbursement of reasonable costs and expenses.

                         6.      The aforesaid Jaw finm arc not disinterested because they have an interest

                 in the litigation, as the !inns arc to be hired on a contingency fee basis. I lowcvcr, said

                 lirms arc not disqualified for employment as special counsel because, as appears from the

                 Aflidavits of the Attorneys, which accompanies the instant Application, such law firms

                 do not represent or hold any interest adverse lo the Debtor or the estate with respect lo the

                 special matters upon which said firms arc to be employed.

                         7.      The terms of the proposed contingency fee described herein arc

                 comparable to those in similar, non-bankruptcy matters.

                         IT IS THl<:REFORE ORDJi:RF:D that the Applicant is granted and that the

                 employment of the law firms of Wilcox & Lacy, PLC. Scholtens & Averitt, PLC and

                 Rainwater Holl & Sexton, under the terms herein specified herein, lo represent him as

                 special counsel is approved by the Court.


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                                                              l>.ill'd: 09/11/1016




                 Distribution i•iu f.'CF 1":

                RICJIAIUJ L. COX
                LONNJE GRJMES
                TONY I,. WILCOX
                ROBERT M. SEXTON
                CHRIS AVERITT




!l.llKl7(>   75704030106016
             Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 27 of 49




                    lN Tl IF CIRCl !Ir COURT OF Pl !LASKI COUNTY. ARKANSAS
                                                   CIVIL DIVISION

RICHARD L. COX. TRUSTEt:. ON HI HALI· OI· Tiil·
BANKRUPTCY       Al L OF KFU Y RYN\                                                                             PL:\ll\ !llF

VS,                                                CASE NO.

AMH~lCAN RED CROSS: and JOHN DOE
DEFLNDANTS I                                                                                                  DEFENDAN IS

                                                      AFF]DA\IT

          l. Chris:\. Awriu. aunrncy for Richard L. Cox. Trustee. on Behalf of the l·.statt: of Kell)

Ryan. Jo solemnly swear                        that the id1..·mit) tirtht: adJi1ional tortti:asors              as J Pim Docs

l     arc unknown. I haw au,:mptl'.d a diligent inquiry to ascertain the identity ofun) su1.:h hirtfrasors.

but have hi..'.en unabk~ to J1..•t1.:rmin1C" the itkntity of said tortl~as\1rs. l :pon determinati,)n of the identit)

t•f the additinnal                                       tht: ( \m1plamt and sunstitutc the real names for the

pseudo-names.




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  ATE OF ARKANSAS
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              CR.~ f''i!-l;:;A') COUNTY
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~                Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 28 of 49
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                                                                                     60CV-17-298
                    IN THE CIRCUIT COURT OF PULASKI COUNTY,             ARKANElAS C06D12: 2 Pages
                                      CIVIL DIVISION

     RICHARD L. COX, TRUSTEE, ON BEHALF OF THE
     BANKRUPTCY ESTATE OF KELLY RY AN                                                    PLAINTIFF

     vs.                                CASE N0.60CV-l 7-298

    AMERICAN RED CROSS; and JOHN DOE
    DEFENDANTS 1-5                                                                 DEFENDANTS



                                    AFFIDAVIT OF SERVICE

            Chris A. Averitt, attorney for Plaintiff herein, states:

            1.       That I sent a copy of the Summons and Complaint filed herein, by

    "Certified Mail/Return Receipt Requested/Restricted Delivery" to American Red Cross,

    Lori Polacheck, General Counsel for Defendants herein, and a signed return postage

    receipt, is attached hereto, marked Exhibit "A", which reflects service upon American

    Red Cross.

                                          VERIFICATION

            I, Chris A. Averitt, attorney for the Plaintiff, first having been duly sworn on oath,

    stated the facts set forth in the foregoing Affidavit of Service are true to the best of my

    knowledge.


                                                      a____,,_,d~
                                                         HRIS A. AVERITT

    STATE OF ARKANSAS
    COUNTY OF CRAIGHEAD

            Subscribed and sworn to before me, a Notary Public, on this 9th day of February,
    2017.

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    My Commission Expires:
                                                                            OFFICIAL SEAL -       #1~C:-iS358

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                                                                           MYCOMMiSSION EXp,1·:.:S: 11-08·26
~           Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 29 of 49




                                                            Exhibit "A"

    Civil Return Receipt:




                • Complete items 1, 2, and 3. Also complete
                  item 4 if Restricted Delivery is desired.                                                               OAgent
                • Print your name and address on the reverse                                                              D Addressee
                  so .that we can return the card to you.
                                                                                                                   C. Date of Delivery
                • Attach this card to the back of the mailpiece,
                  or on the front if space permits.
                1. Article Addressed to:                                   • ls delivery address different from item 1?   D Yes
                                                                            ff YES, enter delivery address below:         D No
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                   Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 30 of 49
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                        IN THE CIRCUIT COURT OF PULASKI COUN'IY, ARKANS~S                      C06D12: 2 Pages                   I
                                          CIVIL DIVISION

          RICHARD L. COX, TRUSTEE, ON BEHALF OF THE
          BANKRUPTCY ESTATE OF KELLY RYAN                                                      PLAINTIFF

          vs.                                 CASE N0.60CV-17-298

          AMERICAN RED CROSS; and JOHN DOE
          DEFENDANTS 1-5                                                                  DEFENDANTS



                                          AFFIDAVIT OF SERVICE

                  Chris A. Averitt, attorney for Plaintiff herein, states:

                  1.     That I sent a copy of the Summons and Complaint filed herein, by

          "Certified Mail/Return Receipt Requested/Restricted Delivery" to American Red Cross,

          Lori Polacheck, General Counsel for Defendants herein, and a signed return postage

          receipt, dated February 16, 2017, is attached hereto, marked Exhibit "A'', which reflects

          service upon American Red Cross.

                                                VERIFICATION

                  I, Chris A. Averitt, attorney for the Plaintiff, first having been duly sworn on oath,

          stated the facts set forth in the foregoing Affidavit of Service are true to the best of my

          knowledge.
                                                                                   p




          STATE OF ARKANSAS
          COUN'IY OF CRAIGHEAD

                  Subscribed and sworn to before me, a Notary Public, on this     23rd   day of February,
          2017.



          My Commission Expires:                              Notary Public
             Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 31 of 49
..

                                                                   Exhibit "A"

     Civil Return Receipt:




           • Complete items 1, 2, and 3. Also complete
             Item 4 if Restricted Delivery is desired.
           • Print your name and address on the reverse
             so that we can return the card to you.
                                                                                                                    C. Date of Delivery
           • Attach this card to the back of the mailplece,
             or on the front if space permits.
                                                                            D. Is delivery addreSli diffefent from item 1? D Yes
           1. Article Addressed to:
                                                                               If YES, enter delivery address below:       D No
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                                                                           4. Restricted Delivery? (Extra Fee)
          2. Article Number
             (T'ransfer from service label)
          PS Fonm    3811, July 2013                         Domestic Return Receipt
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    ''          Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 32 of 49
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                                                                                     C06D12: 2 Pages
                            IN THE CIRCUIT COURT OF PULASKI COUNTY
                                       TWELFTH DIVISION


         RICHARD L. COX, TRUSTEE ON
         BEHALF OF BANKRUPTCY ESTATE OF                                             PLAINTIFF
         KELLY RYAN

         v.                           CASE NO. 6ocv-17-298

         AMERICAN RED CROSS; and JOHN DOE
         DEFENDANTS 1-5                                                         DEFENDANTS

                                     NOTICE OF APPEARANCE

                Please take note that Khayyam M. Eddings of the law firm of FRIDAY, ELDREDGE &

         CLARK, LLP, 400 West Capitol Avenue, Suite 2000, Little Rock, Arkansas 72201, hereby

         enters his appearance as counsel on behalf of Defendant American Red Cross, and for all

         future pleadings and other matters before this Court. The undersigned requests that all

         communications from this Court and all service from the parties be directed to his

         attention.

                                                 Respectfully submitted,

                                                 Khayyam M. Eddings (Ark. Bar #2002008)
                                                 FRIDAY, ELDREDGE & CLARK, LLP
                                                 400 West Capitol Avenue, Suite 2000
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                                                 Attorneys for Defendant American Red Cross

                                          By:    Isl Khayyam M. Eddings
                                                    Khayyam M. Eddings
    '~          Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 33 of 49
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                                    CERTIFICATE OF SERVICE

                I, Khayyam M. Eddings, hereby certify that on this 24th day of February, 2017, I
         have filed the foregoing with the Clerk of the Court for filing and uploading to the
         CM/ECF system, which will forward a copy of same to the following counsels of record:


               Tony L. Wilcox
               Wilcox Law Firm
               600 South Main Street
               Jonesboro, AR 72401

               Chris A. Averitt
               Scholtens & Averitt, PLC
               600 South Main Street
               Jonesboro, AR 72401


                                                 By:   Isl Khayyam M. Eddings
                                                          Khayyam M. Eddings




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                                                                            Pulaski County Circuit Court
                                                                          Larry Crane, Circuit/County Clerk
                                                                          2017-Feb-24 11 :42:05
                                                                              60CV-17 -298
             IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSJ\.~            C0 D 12 : 14 Pages
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                              TWELFTH DIVISION


RICHARD L. COX, TRUSTEE ON
BEHALF OF BANKRUPTCY ESTATE OF                                             PLAINTIFF
KELLY RYAN

v.                             CASE NO. 6ocv-17-298

AMERICAN RED CROSS; and JOHN DOE
DEFENDANTS 1-5                                                         DEFENDANTS


               DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT

       Comes now Defendant American National Red Cross ("Defendant" or "Red

Cross"), by and through its undersigned counsel, FRIDAY, ELDREDGE & CLARK, LLP, and

for its Answer to Plaintiffs Complaint, states as follows:

       1.     Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 1 of Plaintiffs Complaint and

therefore they are denied.

       2.     Paragraph 2 of Plaintiffs Complaint contains no allegations against the

Defendant and therefore requires no response. Insofar, however, as Plaintiff attempts

to make allegations against Defendant in paragraph 2, Defendant denies them.

       3.     Defendant admits the allegations contained in paragraph 3 of Plaintiffs

Complaint.

       4.     Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 4 of Plaintiffs Complaint and

therefore they are denied.
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      5.      While Defendant admits that the events giving rise to this cause of action

occurred in Little Rock, Pulaski County, Arkansas, Defendant denies the remaining

allegations contained in paragraph 5 of Plaintiff's Complaint.

      6.      While Defendant admits that the events giving rise to this lawsuit

occurred in Arkansas, Defendant denies the remaining allegations contained in

paragraph 6 of Plaintiff's Complaint.

      7.      In response to paragraph 7 of Plaintiff's Complaint, Defendant

incorporates its responses to paragraphs 1 through 6, herein by reference.

      8.      Paragraph 8 of Plaintiff's Complaint contains no allegations against the

Defendant and therefore no response is required. Insofar, however, as Plaintiff attempts

to make allegations against Defendant in paragraph 8, Defendant denies them.

      9.      Defendant is without knowledge or information sufficient at this time to

form a belief as to the truth of the allegations contained in paragraph 9 of Plaintiff's

Complaint and therefore they are denied.

      10.     Defendant admits that Plaintiff entered a room at Arkansas Children's

Hospital ("ACH"), but denies that blood was drawn.           Any remaining allegations

contained in paragraph 10 of Plaintiff's Complaint are denied.

      11.     Defendant denies the allegations contained in paragraph    11   of Plaintiff's

Complaint.

      12.    Defendant denies the allegations contained in paragraph     12   of Plaintiff's

Complaint.

      13.    Defendant denies the allegation contained in paragraph 13 of Plaintiff's

Complaint.




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       14.    Defendant denies the allegations contained in paragraph 14 of Plaintiffs

Complaint.

       15.   Defendant denies the allegations contained in paragraph 15 of Plaintiffs

Complaint.

       16.   Defendant is without knowledge or information sufficient at this time to

form a belief as to the truth of the allegation contained in paragraph 16 of Plaintiffs

Complaint and therefore they are denied.

       17.    Defendant is without knowledge or information sufficient at this time to

form a belief as to the truth of the allegations contained in paragraph 17 of Plaintiffs

Complaint and therefore they are denied.

       18.   Defendant denies the allegation contained in paragraph 18 of Plaintiffs

Complaint.

      19.    Defendant is without knowledge or information sufficient at this time to

form a belief as to the truth of the allegations contained in paragraph 19 of Plaintiffs

Complaint and therefore they are denied.

       20.    Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph   20   of Plaintiffs Complaint and

therefore they are denied.

       21.    Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph   21   of Plaintiffs Complaint and

therefore they are denied.

       22.    While Defendant admits that it entered into a consent decree reached in

United States v. American National Red Cross, as alleged in paragraph        22   of Plaintiffs




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Complaint, Defendant states that the decree has expired and all remaining allegations

contained in paragraph 22 of Plaintiffs Complaint are denied.

      23.     Defendant denies the allegations contained in paragraph   23   of Plaintiffs

Complaint.

      24.    Defendant denies the allegations contained in paragraph 24 of Plaintiffs

Complaint.

      25.    In response to paragraph 25 of the Complaint, Defendant incorporates its

responses to paragraphs 1 through 24 of Plaintiffs Complaint by reference.

      26.     Defendant admits the allegations contained in paragraph 26 of Plaintiffs

Complaint.

      27.     Defendant denies the allegations contained in paragraph 27 of Plaintiffs

Complaint.

      28.    Defendant denies the allegations contained in paragraph 28 of Plaintiffs

Complaint including those contained in its subparts.

      29.     Paragraph 29 of Plaintiffs Complaint contains no allegation against the

Defendant and therefore no response is required.        Insofar, however, as Plaintiff

attempts to make allegations against the Defendant in paragraph 29, they are denied.

      30.    Defendant denies the allegations contained in paragraph 30 of Plaintiffs

Complaint.

      31.    Defendant denies the allegations contained in paragraph 31 of Plaintiffs

Complaint.

      32.    Defendant denies the allegations contained in paragraph    32   of Plaintiffs

Complaint.




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      33.     Defendant incorporates its responses to paragraphs          1   through 32 of

Plaintiff's Complaint by reference.

       34.    Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 34 of Plaintiff's Complaint and

therefore they are denied.

       35.    Defendant denies the allegation contained in paragraph 35 of Plaintiff's

Complaint.

       36.    Defendant denies the allegations contained in paragraph 36 of Plaintiff's

Complaint.

       37.    Defendant denies the allegations contained in paragraph 37 of Plaintiff's

Complaint.

       38.    Defendant denies the allegations contained in paragraph 38 of Plaintiff's

Complaint.

       39.    Defendant denies the allegations contained in paragraph 39 of Plaintiff's

Complaint.

       40.    Defendant denies the allegations contained in paragraph 40 of Plaintiff's

Complaint.

       41.    Defendant denies the allegations contained in paragraph         41   of Plaintiff's

Complaint.

       42.    In response to paragraph 42 of Plaintiff's Complaint, Defendant

incorporates its responses to paragraphs     1   through   41   of Plaintiff's Complaint by

reference.




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      43.     Defendant admits the allegations contained in paragraph 43 of Plaintiff's

Complaint.

      44.    While Defendant admits that is a competent and competently-staffed

organization that operates a nationwide blood bank that collects blood and blood

components from donors and supplies it to hospitals for use in transfusions, Defendant

denies the remaining allegations contained in paragraph 44 of Plaintiff's Complaint.

      45.    Defendant denies the allegations contained in paragraph 45 of Plaintiff's

Complaint.

      46.    Defendant denies the allegations contained in paragraph 46 of Plaintiff's

Complaint.

      47.    While Defendant admits that some people have allergies to iodine, it

denies the remaining allegations contained in paragraph 47 of Plaintiff's Complaint.

      48.     Defendant denies the allegations contained in paragraph 48 of Plaintiff's

Complaint.

      49.    Defendant denies the allegations contained in paragraph 49 of Plaintiff's

Complaint.

      50.    Defendant denies the allegations contained in paragraph 50 of Plaintiff's

Complaint.

      51.    Defendant denies the allegations contained in paragraph 51 of Plaintiff's

Complaint.

      52.    Defendant denies the allegations contained in paragraph 52 of Plaintiff's

Complaint.




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        53.   Defendant denies the allegations contained in paragraph 53 of Plaintiffs

Complaint.

        54.   Defendant denies the allegations contained in paragraph 54 of Plaintiffs

complaint.

        55.   Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 55 of Plaintiffs Complaint and

therefore they are denied.

        56.    Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 56 of Plaintiffs Complaint and

therefore they are denied.

        57.    Defendant denies that Plaintiff is entitled to any of the relief prayed for in

paragraph 57 of Plaintiffs Complaint.

        58.    Defendant denies the allegations contained in paragraph 58 of Plaintiffs

Complaint.

        59.   Defendant denies the allegations contained in paragraph 59 of Plaintiffs

Complaint.

        60.   Defendant denies the allegations contained in paragraph 60 of Plaintiffs

Complaint and that Plaintiff is entitled to any of the relief prayed for therein.

        61.   Defendant denies that the Plaintiff is entitled to any of the relief requested

in paragraph 61 of Plaintiffs Complaint.

        62.    Paragraph 62 of Plaintiffs Complaint contains no allegations against the

Defendant and therefore no response is required.            Insofar, however, as Plaintiff

attempts to make allegations against the Defendant in paragraph 62, Defendant denies

them.


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       63.    Defendant joins in Plaintiffs request for a trial by jury.

       64.    Defendant denies that Plaintiff is entitled to any of the relief requested in

the prayer of the Complaint.

       65.    Defendant reserves the right to amend this Answer after discovery of all

the relevant facts are completed.

       66.    Defendant denies separately and specifically each and every material

allegation of Plaintiffs Complaint not otherwise admitted herein.

       67.    Pleading affirmatively, Plaintiffs Complaint fails to state a claim for which

relief may be granted.

       68.    Pleading affirmatively, Defendant states that it is immune from suit in tort

pursuant to the Arkansas doctrine of charitable immunity and the Plaintiffs Complaint

should be dismissed with prejudice.

       69.    Plaintiff has failed to state facts upon which relief can be granted against

the Defendant.

       70.    Plaintiffs claims against the Defendant are barred, in whole or in part, by

the doctrines of settlement, release, accord and satisfaction or performance.

       71.    Plaintiffs claims against the Defendant are barred, in whole or in part, by

applicable statutes of limitation, latches, or other inaction on the part of Plaintiff.

       72.    Plaintiffs claims against the Defendant are barred, in whole or in part, by

the doctrines of waiver or consent.

       73.    Plaintiffs claims against the Defendant are barred, in whole or in part, by

the doctrines of estoppel, including promissory estoppel, equitable estoppel and judicial

estoppel.




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       74.     Plaintiffs claims against the Defendant are barred, in whole or in part, by

pending or prior litigation, including the doctrines of issue and claim preclusion or

collateral attack.

       75.    The Defendant acted in good faith and in substantial compliance with

applicable state and federal constitutions, laws, rules and regulations.

       76.     Because the Defendant is currently without knowledge or information

sufficient to form a belief as to whether it might have additional defenses, the Defendant

reserves the right to assert any other matter(s) constituting avoidances or affirmative

defenses after further investigation and discovery.

       77.     Pleading affirmatively, the Defendant states and reserves the right to plead

further any and all other affirmative defenses that may be applicable to this claim

including, but not limited to, intervening cause inasmuch as if true, the injuries and

damages alleged in the Plaintiffs Complaint appear to be the result of an act or omission

of another person, entity or proximate intervening cause and, therefore, the Plaintiffs

Complaint should be dismissed with prejudice.

       78.    Pleading affirmatively, Defendant specifically asserts its rights to

contribution, allocation of fault, credit, indemnity, set off and any other reduction of

damages as to any party or non-party tortfeasor who may be released by the Plaintiff or

who may be found to be at fault, or as may otherwise be available under Arkansas law.

       79.    Defendant specifically denies subject matter jurisdiction and affirmatively

pleads that the Complaint should be dismissed for lack of subject matter jurisdiction.

       So.    Pleading affirmatively, Defendant states and reserves the right to plead

further any and all other affirmative defenses that may be applicable to this claim




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including, but not limited to, contributory negligence and any other matter constituting

an avoidance or affirmative defense.

       81.      Pleading affirmatively, Defendant states that the Plaintiffs Complaint fails

to state facts upon which relief can be granted to support an award of punitive damages

and the claim for punitive damages should be dismissed with prejudice.             Pleading

further, Defendant states that the conduct at issue as alleged in the Complaint cannot

constitute malice as a matter of law. Any award premised on the facts as alleged in the

Complaint would be the result of mere passion and prejudice and would necessarily

shock the conscience of this and any other Arkansas Court and, therefore, the punitive

damages claim should be dismissed with prejudice.

      82.       Pleading affirmatively, Defendant states that the Plaintiffs allegations

pertaining to punitive damages were intentionally made without reasonable cause and

are untrue and this Defendant seeks recovery of all costs permitted by Arkansas law in

defending these allegations.

      83.       Pleading affirmatively, Defendant states that for each of the following

reasons, the Plaintiffs punitive damages claim violates this Defendant's due process and

equal protection rights accorded under the United States Constitution and as made

applicable by the Fourteenth Amendment, as well as the corresponding due process

provisions of the Arkansas Constitution, and that punitive damages claim should

therefore be dismissed with prejudice:

             a. An award of punitive damages is punishment, and without the same

                protections that are accorded to criminal defendants, including but

                not limited to protections against unreasonable searches and

                seizures, double jeopardy, self-incrimination, the right to confront


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     adverse witnesses, a speedy trial and the effective assistance of

     counsel, any punitive damages awarded in this case would violate

     this Defendant's rights under Amendments IV, V and VI of the

     United States Constitution, as incorporated by Amend. XIV, and

     under the corresponding applicable provisions of the Arkansas

     Constitution.

  b. The Defendant is entitled to, but will not receive, fair notice

     regarding the amount of potential punitive damages award. Under

     current law, the Defendant cannot receive fair notice regarding

     punitive damages.

  c. Any punitive damages awarded to the Plaintiff in this case under

     existing law would be arbitrary and would thus violate this

     Defendant's constitutional rights because®1) punitive damages are

     not subject to a predetermined limit; (2) there is no reasonable

     standard for determining a limit to punitive damages in this case;

     (3) the jury is not provided a standard of sufficient clarity for

     determining the appropriateness, or the appropriate size, of a

     punitive damages award; (4) there is no established burden of proof

     for punitive damages, any award of punitive damages without

     requiring the Plaintiff to prove every element beyond a reasonable

     doubt or, in the alternative, by clear and convincing evidence

     violates the Defendant's constitutional rights; (5) the jury is

     permitted to award punitive damages even though the law does not

     define with sufficient clarity the conduct and mental state that


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     make punitive damages permissible and the trier of fact is not given

     sufficient   guidelines      regarding   how    to   determine     the

     reprehensibility of the Defendant's conduct including but not

     limited to consideration of the character and degree of the alleged

     wrong and whether to discriminate between economic harm and

     physical harm; (6) the jury is not instructed on the limits of punitive

     damages imposed by applicable principles of deterrence and

     punishment; (7) the jury is not prohibited from awarding punitive

     damages, in whole or in part, on the basis of insidiously

     discriminatory characteristics including the personal or corporate

     status of a defendant; and (8) the award is not subject to judicial

     review on the basis of objective standards.

  d. An award of punitive damages premised on the facts as alleged in

     the Complaint would necessarily be grossly excessive in relation to

     the state's legitimate interest in punishment and deterrence.

  e. An award of punitive damages under Arkansas and federal law

     compensates the Plaintiff for elements of damage that are not

     otherwise recognized by law and which constitute an unlawful

     windfall to the Plaintiff;

  f. The trier of fact is not instructed that the Plaintiff is presumed to

     have been made whole by any compensatory damages award and

     thus an award of punitive damages violates the Defendant's due

     process rights because it subjects the Defendant to an acute danger

     of unlawful and unreasonable deprivation of property; and


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             g. An award of punitive damages in this matter would constitute an

                unlawful taking of the Defendant's property in violation of the

                Arkansas and United States Constitutions.

       84.      All allegations of negligence, malice, damages and proximate causation are

separately and specifically denied.

       WHEREFORE, Defendant respectfully requests that the Court dismiss the

Plaintiffs Complaint and award Defendant's costs, and grant all other relief which the

Court deems just and proper.

                                            Respectfully submitted,

                                            Michelle Ator (Ark. Bar 95189)
                                            Khayyam M. Eddings (Ark. Bar #2002008)
                                            FRIDAY, ELDREDGE & CLARK, LLP
                                            400 West Capitol Avenue, Suite 2000
                                            Little Rock, AR 72201
                                            Telephone: (501) 370-1417
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                                            Attorneys for Defendant Red Cross

                                      By:   Isl Khayyam M. Eddings
                                               Khayyam M. Eddings




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       Case 4:17-cv-00113-JLH Document 1 Filed 02/27/17 Page 47 of 49




                            CERTIFICATE OF SERVICE

      I, Khayyam M. Eddings, hereby certify that on this     24th   day of February,   2017,   I

have filed the foregoing with the Clerk of the Court for filing and uploading to the

CM/ECF system and a copy of this Answer has been mailed via U.S. Postal Service,

prepared to the following counsel of record:


      Tony L. Wilcox
      Wilcox Law Firm
      600 South Main Street
      Jonesboro, AR 72401

      Chris A. Averitt
      Scholtens & Averitt, PLC
      600 South Main Street
      Jonesboro, AR 72401


                                         By:        Isl Khayyam M. Eddings
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LLP, 400 West Capitol Avenue, Suite 2000, Little Rock, Arkansas 72201, hereby enters

her appearance as counsel on behalf of Defendant American Red Cross, and for all

future pleadings and other matters before this Court. The undersigned requests that all

communications from this Court and all service from the parties be directed to her

attention.

                                        Respectfully submitted,

                                        Michelle Ator (Ark. Bar 95189)
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                                        400 West Capitol Avenue, Suite 2000
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                                        Attorneys for Defendant American Red Cross

                                 By:    /s/ Michelle Ator
                                           Michelle Ator
    '   . Case 4:17-cv-00113-JLH    Document 1 Filed 02/27/17 Page 49 of 49




                             CERTIFICATE OF SERVICE

       I, Michelle Ator, hereby certify that on this 24th day of February, 2017, I have filed
the foregoing with the Clerk of the Court for filing and uploading to the CM/ECF system,
which will forward a copy of same to the following counsels of record:


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         Wilcox Law Firm
         600 South Main Street
         Jonesboro, AR 72401

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                                           By:    Isl Michelle Ator
                                                      Michelle Ator




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